

ORDER

PER CURIAM:
AND NOW, this 16th day of March, 2000, upon consideration of the Report and Recommendations of the Disciplinary Board dated January 12, 2000, it is hereby
ORDERED that SCOTT M. KLEIN be and he is SUSPENDED from the Bar of this Commonwealth for a period of one (1) year and one (1) day, and he shall comply with all the provisions of Rule 217, Pa. R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Justice NIGRO dissents and would suspend respondent for three years retroactive to January 22,1999.
